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 9
                           UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11

12
     BASF CORPORATION, et al.                 Case No. 2:20-cv-02586-GW(Ex)
13
                                Plaintiffs,
14                                            JOINT STATUS REPORT
     vs.
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     CAL-TRON PLATING, INC., et al.           Status Conference:
16                                            Date:    February 14, 2022
                                Defendants.   Time: 8:30 a.m.
17
                                              Place: 350 W. 1st Street
18                                                     Courtroom 9D, 9th Floor
                                                       Los Angeles, CA 90012
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                                              Judge: Hon. George H. Wu
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 1         Plaintiffs BASF Corporation et al. (“Plaintiffs”) and the undersigned defendants
 2   (“Defendants”) hereby submit this Joint Status Report in anticipation of the February
 3   14, 2022 Scheduling Conference. Plaintiffs and Defendant Halliburton Energy
 4   Services, Inc. (“Halliburton”) recently reached an agreement under which Plaintiffs
 5   agreed to dismiss its claims against Halliburton without prejudice. The stipulated
 6   dismissal was filed on February 9, 2022. See Dkt. No. 128.
 7         The remaining parties have been unable to agree upon a schedule for this case.
 8   Plaintiffs propose that the parties prioritize the information the parties seek through
 9   discovery for six months following the exchange of Initial Disclosures, focusing on
10   obtaining the information that would put the parties in a position to explore settlement
11   in late summer or early fall and perhaps dispose of this case entirely. Defendants do
12   not want to engage in focused discovery, as proposed by Plaintiffs, and instead
13   propose that the Court adopt the schedule described in Section II, below. The parties’
14   respective positions are set forth below.
15   I.    PLAINTIFFS’ POSITION
16         A.     Background
17         Plaintiffs initially proposed that this case be bifurcated into two phases: a
18   liability phase followed by an allocation phase, as had been done in the related case
19   pending before this Court, BASF Corp. et al. v. APC Investment Co. et al., Case No
20   2:14-cv-06456-GW-E. Defendants rejected the proposal.
21         In the interest of conserving the party and judicial resources necessary to
22   litigate the bifurcation issue, and to move this case forward, Plaintiffs offered a
23   compromise. Plaintiffs offered to forego bifurcation provided that Defendants agreed
24   to wait until after July 1, 2022, to propound discovery relating to Plaintiffs’ response
25   costs. In exchange for that agreement, Plaintiffs would provide, with their Initial
26   Disclosures, a summary of their past costs, along with a generic description of the
27   basic categories of costs and subtotals that make up that total. Defendants agreed to
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 1   the compromise, and the parties began negotiating a proposed scheduling order to
 2   present to the Court.
 3         During those negations, Plaintiffs proposed that during the first half of 2022,
 4   the parties engage in discovery focused on obtaining the information the Parties
 5   believe they need to put themselves in a position to engage in meaningful settlement
 6   discussions sometime in the summer of 2022. After completing the “focused
 7   discovery,” the parties would appear before the Court to discuss whether to pause the
 8   litigation so that the parties could explore settlement. Plaintiffs made this proposal
 9   because Defendants have thus far declined Plaintiffs’ invitation to explore settlement
10   on the grounds that Defendants need information about Plaintiffs’ response costs to
11   engage in meaningful settlement discussions.
12         Defendants expressed interest in the proposal for focused discovery, but they
13   did not respond to Plaintiffs’ invitation to confer on the subject until after the year-end
14   holidays. In January, the parties exchanged proposals for informally providing each
15   other with basic, relevant information, prior to Initial Disclosures, to help the parties
16   identify the scope of the contemplated focused discovery. On Friday, February 4,
17   counsel for Defendant Mid-West Fabricating abruptly cut off the negotiations,
18   indicating that it was not interested in focused discovery and was impatient to move
19   forward with discovery.
20         Seeking—again—to conserve the party and judicial resources that would be
21   incurred if the parties presented “dueling schedules” to the Court, one from Plaintiffs
22   that included focused discovery and one from Defendants that did not, Plaintiffs
23   offered the following proposed schedule as a compromise:
24         1.     Initial Disclosures: The parties would exchange Initial Disclosures 45
25                days from the date that the Court approves Plaintiffs’ proposed schedule.
26         2.     Response Cost Presentation. In lieu of including response cost
27                information in their Initial Disclosures, Plaintiffs would provide
28                Defendants with an oral presentation concerning those costs. The

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 1                presentation would include a discussion of Plaintiffs’ total past costs,
 2                including a generic description of the basic categories of costs and
 3                subtotals that make up the total, and an estimate of Plaintiffs’ future
 4                costs, along with the total dollar amount collected to date in settling with
 5                non-Omega Property PRPs. The presentation would be subject to
 6                Defendants’ agreement to keep the cost information confidential and not
 7                disclose it to any third parties.
 8         3.     Meet and Confer re Focused Discovery.
 9                   a. Following the presentation, the parties would confer about what
10                       discovery, if any, Defendants believe they need to feel confident
11                       that they have an accurate understanding of those costs.
12                   b. After reviewing Defendants’ Initial Disclosures, Plaintiffs would
13                       present each Defendant with a list of information that was not
14                       included in those disclosures which Plaintiffs believe they need,
15                       via discovery, to engage in meaningful settlement discussions. The
16                       parties would then confer, if necessary, to resolve any disputes
17                       concerning the requested discovery. Defendants would agree not to
18                       seek discovery concerning Defendants’ financial status during
19                       focused discovery, provided that Defendants agree to disclose
20                       certain financial information to Plaintiffs (a) as part of the parties’
21                       confidential settlement discussions following focused discovery,
22                       and (b) as a prerequisite to receiving a presentation from Plaintiffs
23                       that includes their settlement demand.1
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      In agreeing not to seek financial information from Defendants during focused
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     discovery, Plaintiffs are in no way conceding that such information is not
28   discoverable. To the contrary, Plaintiffs contend that this information is a proper
     subject of discovery in this action.
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 1         4.     Report to the Court. Following the parties’ conferences regarding
 2                focused discovery, the Court will report to the Court regarding whether
 3                they have reached agreement on the scope of focused discovery that the
 4                parties believe they need. If the parties are unable to agree upon focused
 5                discovery, they will present the Court with a schedule for the remaining
 6                tasks to be completed before trial.
 7         On February 10, 2022, Defendants rejected Plaintiffs’ proposal.
 8         B.     The Court Should Adopt Plaintiffs’ Proposed Schedule
 9         The schedule set out immediately above is efficient, orderly, and places the
10   parties in the best position to explore whether this case can be disposed of early, this
11   year, before the parties and the Court are required to commit the time, effort, and
12   expense of litigating Plaintiffs’ CERCLA contribution claim and preparing for trial.
13         Plaintiffs have repeatedly offered to explore settlement with Defendants so the
14   parties may avoid the time, effort, and cost of litigation—and to conserve judicial
15   resources. Defendants have declined each invitation on the grounds that they need
16   information concerning Plaintiffs’ past and estimated future response costs to have
17   meaningful discussions. Plaintiffs’ proposal offers precisely what Defendants contend
18   they need: an explanation concerning Plaintiffs’ response costs and an opportunity to
19   obtain clarifications or additional information so that Defendants are confident that
20   they have an accurate picture of those costs. Providing this information, as Plaintiffs
21   have proposed, will position the parties well for settlement discussions very early in
22   the case and offer the best opportunity to dispose of the case entirely.
23         The only basis Defendants have offered for rejecting Plaintiffs’ proposed
24   schedule is that they are impatient to move the case forward and proceed with
25   discovery. Again, this is precisely what Plaintiffs are proposing. The parties will
26   exchange substantive information through their Initial Disclosures within the next 45
27   days, subject to the Court’s approval, and then proceed with follow-on discovery, as
28   necessary. Any complaint that requiring the parties to meet and confer about any such

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 1   follow-on, focused discovery would only “further delay” this case from moving
 2   forward ignores two important facts. First, the Initial Disclosures, the Response Cost
 3   Presentation, and the list of additional information Defendants will provide about
 4   needed discovery will help the parties quickly identify what further information they
 5   need and whether they can agree upon focused discovery.
 6         Second, the time the parties spend meeting and conferring on focused discovery
 7   is time well spent. It is an inexpensive investment that may pay tremendous dividends,
 8   namely, setting the stage for an early resolution of this case. Moreover, even if the
 9   parties ultimately cannot reach agreement on focused discovery, their negotiations
10   over its scope will better inform them on their discovery needs and what information
11   each side may have and believes is appropriate to produce. This will undoubtedly
12   smooth the way for future discovery in this case and help to reduce the number of
13   discovery disputes.2
14          Any notion that Plaintiffs are attempting to “phase” or limit discovery is also
15   without merit.3 No party will be forced to forego any appropriate discovery that it
16   believes it needs in this case. Plaintiffs’ proposal merely requires the parties to
17   prioritize what discovery they would like to receive first. Plaintiffs’ proposed schedule
18   strikes the right balance in moving this case forward. It allows for the substantive
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       Defendants also fail to note that this case was stayed for a substantial period while
21   the parties awaited the Ninth Circuit’s ruling on the statute-of-limitations issue in the
     APC Investment matter. One can hardly fault Plaintiffs for this.
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       Defendants’ contention that Plaintiffs are “stonewalling” is without merit. As
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     described above, it has been Plaintiffs, not Defendants, that have sought to move this
24   case forward under a schedule that was efficient, mitigated against numerous
     discovery disputes, and put the parties in a position to resolve the case entirely this
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     year by prioritizing the discovery they believe they need to engage in informed
26   settlement discussions in late summer or early fall. For example, when Defendants
     resisted Plaintiffs’ proposal for bifurcation, Plaintiffs were well within their rights to
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     litigate that issue through motion practice but declined and instead offered a
28   compromise that allowed the parties to move forward in developing a scheduling
     order.
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 1   exchange of information within 45 days of the Court’s approval while also giving the
 2   parties an important opportunity to put this matter behind them sooner rather than
 3   later.
 4            C.      Defendants’ Proposed Schedule Is Flawed and Unworkable
 5            Even if the Court is not inclined to adopt Plaintiffs’ proposed schedule,
 6   Defendants’ proposed schedule is seriously flawed and should be rejected for the
 7   following reasons.
 8                  It provides for a new date for responding to Plaintiffs’ complaint. See Ex.
 9                    A (Defendants’ Proposed Scheduling Order, at p. 6). The Court already
10                    set that deadline, June 4, 2021, and it has already passed. See Status
11                    Conference Tr. at 7:10-22, May 20, 2021.
12                  It provides for a discovery cut-off date that is only a month before the
13                    Final Pretrial Conference. See id. §§ 3, 4). This provides far too little
14                    time for the parties to meet and confer and prepare, prior to the Final
15                    Pretrial Conference, concerning any joint submissions the Court may
16                    require the parties to provide before the Final Pretrial Conference, such
17                    as a joint statement of the case, exhibits lists and objections, and witness
18                    lists. Plaintiffs fail to see how Defendants believe that this work can be
19                    completed if the parties have concluded discovery only a few days
20                    earlier.
21                  It provides that discovery motions may be file 30 days after the discovery
22                    cut-off date. Id. § 4.3. This means that a discovery motion Could be
23                    pending, and further discovery potentially conducted if the Court grants
24                    the motion, after the Final Pretrial Conference.
25                  It provides that motions in limine may be filed 3 weeks before the Final
26                    Pretrial Conference (id. at p. 6), which all but assures that the motion
27                    may not be ruled upon until after that conference.
28                  It allows non-expert depositions to continue past the discovery cut-off

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 1                deadline. Id. § 4.1. This allows for depositions to continue, or the
 2                potential that a discovery motion related to that deposition may be
 3                pending, after the Final Pretrial Conference.
 4              It requires expert disclosures before the close of fact discovery (id. § 4.4)
 5                which means that the parties’ experts must prepare their expert reports
 6                while fact discovery is ongoing, potentially denying those experts the
 7                information they need to complete their reports.
 8              It does not provide time for the parties to bring Daubert motions or the
 9                Court to conduct Daubert hearings. See id. passim.
10              It requires for settlement procedures (id. § 7) that are inconsistent with
11                the ADR procedure selected by the parties in their Rule 26(f) report in
12                contravention of Local Rule 16-5.
13              It does not provide for the parties’ efforts to fashion an appropriate
14                protective order in this case, as requested by Plaintiffs.
15              It seeks a trial date in May 2024. Id. § 8. Plaintiffs believe that the parties
16                will be ready for trial sooner, in late summer or early fall 2023.
17         Frankly, these flaws are what one might expect when one party unilaterally
18   fashions a scheduling order. Plaintiffs should be permitted to offer alternative dates,
19   ones that are workable, if this Court is not inclined to adopt Plaintiffs’ proposed
20   schedule.4 Accordingly, Plaintiffs respectfully submit that the Court reject
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       Defendants’ contention that Plaintiffs “hid” their objections to Defendants’ proposed
23   schedule until the day this report was due is false. Plaintiffs explained those
     objections during the parties’ December 10, 2021 meet and confer, as referenced in a
24   December 10, 2021 e-mail from Plaintiffs’ counsel to Defendants’ counsel
25   summarizing what was discussed that day. That e-mail is attached hereto as Exhibit B.
     The e-mail expressly invites Defendant Mid-West Fabricating’s counsel, Dennis
26   Byrne, to make any corrections if Plaintiffs’ summary of the conference misstated
27   anything. Neither Mr. Byrne nor any other Defendant’s counsel indicated that the
     summary was inaccurate or incomplete. Indeed, in an e-mail sent just last week Mr.
28   Byrne admitted that Plaintiffs had previously presented objections to the schedule,
     indicating that he had since “forgotten” them. Perhaps this explains why Mr. Byrne
                                                  7
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 1   Defendants’ proposed schedule.
 2   II.   DEFENDANTS’ POSITION
 3         We are now approaching two years since the filing of Plaintiffs’ Complaint and
 4   remain at the initial procedural stage of this litigation. This delay is not Defendants’
 5   fault.5 The Defendants stand ready and eager to pursue discovery of all evidence
 6   supporting Plaintiffs’ CERCLA contribution claims and the facts that support the
 7   Defendants’ affirmative defenses. Defendants are entitled, as a matter of law, to
 8   information supporting Plaintiffs’ CERCLA contribution claims against them, and
 9   Plaintiffs’ claimed response costs incurred to date and anticipated in the future,
10   information to which Plaintiffs should have ready access.
11         Defendants want all the relevant information to which they are entitled which,
12   to date, Plaintiffs have not been willing to produce. Defendants are not interested in
13   having this information doled out to them in “focused” or “phased” segments as
14   Plaintiffs choose which, in Defendants’ view, prevents the case from moving forward
15   and serves as an impediment to resolution. Nothing prevents any of the Defendants
16   from pursuing the “focused” or “phased” discovery Plaintiffs contemplate if a
17   Defendant so chooses. But Defendants as a group object to being compelled to limit
18   their discovery efforts in this manner.
19         As an alternative Defendants submit the proposed Scheduling Order attached to
20   this Report as Exhibit A. Counsel for Mid West provided this proposed schedule to
21   Plaintiffs’ counsel on February 7th and invited discussion as to any revisions Plaintiffs
22   thought may be needed. Instead, Plaintiffs kept their objections to this proposed
23   schedule hidden, disclosing them to Defendants for the first time in this Joint Report
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25   mistakenly believes they were “hidden.” Mr. Byrne’s e-mail is attached hereto as
26
     Exhibit C.
           5 Plaintiffs profess innocence over time consumed in an appeal pursued in
27
     another CERCLA action. But since the conclusion of that appeal Plaintiffs have
28   successfully stonewalled any progress in this action to the present day with arguments
     for “phased” and now “focused” discovery at Plaintiffs’ convenience.
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 1   on the day of its filing.6 Defendants remain willing to negotiate revisions to this
 2   schedule Plaintiffs and the Court find appropriate. Nevertheless, Defendants deem it
 3   an appropriate foundation for discussion, far superior to Plaintiffs’ third proposed start
 4   and stop fractured and convoluted discovery scheme.
 5

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 7    DATED: February 10, 2022                LATHROP GPM LLP
 8

 9                                      By:
                                              /s/ Ronald A. Valenzuela
10                                            Nancy Sher Cohen
11                                            Ronald A. Valenzuela
                                              Attorneys for Plaintiffs
12

13    DATED: February 10, 2022                VAN NESS FELDMAN LLP
14

15                                      By:
                                              /s/ Brian L. Zagon
16                                            Brian L. Zagon
17                                            Attorney for Defendants
                                              Cal-Tron Plating, Inc.
18

19
      DATED: February 10, 2022                THE CRONIN LAW GROUP
20

21
                                        By:
22                                            /s/ Timothy C. Cronin
                                              Timothy C. Cronin
23
                                              Attorney for Defendant
24                                            Mid-West Fabricating Co.
25

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28         6
            Defendants object to Plaintiffs’ characterization of the e-mail attached hereto
     as Exhibit C.
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 1   DATED: February 10, 2022            VAN RIPER LAW
 2

 3                                 By:
                                         /s/ David Van Riper
 4                                       David Van Riper
 5                                       Attorney for Defendant
                                         Santa Fe Rubber Products, Inc.
 6
     DATED: February 10, 2022            GORDON & REES LLP
 7

 8
                                   By:
 9                                        /s/ Kristin N. Reyna DeHart
                                         Kristin N. Reyna DeHart
10
                                         Attorney for Defendant
11                                       Electronic Chrome & Grinding Co.,
                                         Inc.
12

13   DATED: February 10, 2022            HAMRICK & EVANS LLP
14

15                                 By:
                                          /s/ Thomas P. Schmidt
16                                       Thomas P. Schmidt
                                         Attorney for Defendant
17                                       Electronic Chrome & Grinding Co.,
18                                       Inc.
19
20
     DATED: February 10, 2022            WEISS & ZAMAN
21

22
                                   By:
23                                       /s/ Thomas J. Weiss
                                         Thomas J. Weiss
24
                                         Attorney for Defendant
25                                       Vanowen Holdings, LLC
26

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 2        CERTIFICATION OF CONCURRENCE FROM ALL SIGNATORIES
 3         I, Ronald A. Valenzuela, am the ECF user whose ID and password are being
 4   used to file this Joint Status Report. In compliance with C.D. Cal. Civ. L.R. 5-
 5   4.3.4(a)(2)(i), I hereby attest that I have obtained the concurrence of each signatory to
 6   this document.
 7

 8                                                      /s/ Ronald A. Valenzuela
                                                          Ronald A. Valenzuela
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